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                     In the United States District Court
                          for the District of Kansas



United States of America,
             Plaintiff,

v.                                   Case No. 2:16-cr-20032-JAR

Lorenzo Black, et al.,
            Defendants.



               Order for Production of Witness Pursuant to
                          Fed. R. Crim. P. 17(b)


     The Federal Public Defender for the District of Kansas seeks a subpoena

under Rule 17(b) of the Federal Rules of Criminal Procedure. D.E. 412. Based

on the motion, this Court finds good cause to issue the subpoena, and that the

witness is necessary to present evidence relevant to matters before the Court.

This Court further finds that the FPD, as movant, cannot pay the costs and

fees associated with the subpoena.

     The clerk shall therefore issue the subpoena detailed below. The United

States shall pay the costs and fees associated with the subpoena. The United

States Marshal for the District of Kansas (or a duly appointed deputy) is

ordered to serve the subpoena or arrange for service, at the defense request,
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and authorized to disburse the necessary funds to pay the costs and fees

associated with the subpoena.

  Name of person to be subpoenaed:

     1. John Seubert
        Special Agent, U.S. Secret Service
        Department of Homeland Security
        1150 Grand Avenue, #510
        Kansas City, MO 64106

  Place and time of appearance:

     On April 6, 2018 at 9:00 a.m., in Courtroom No. 427 of the Kansas City,
     Kansas Courthouse.

So ordered on this 20th day of March, 2018.

                                    S/ Julie A. Robinson
                                    Honorable Julie A. Robinson
                                    United States District Court Chief Judge




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